     Case 8:19-cv-01416-JLS-DFM Document 1 Filed 07/22/19 Page 1 of 9 Page ID #:1



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        Camden Property Trust and Oasis Martinique, LLC. (erroneously sued
 8      as Camden Martmique)
 9

10                           UNITED STATES DISTRICT COURT
11                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
12

13      DEBBRAH BASELICE,                       Case No.:
14                  Plaintiff,                  [Action Filed: May 31, 2019]
15      vs.
                                   DEFENDANTS CAMDEN PROPERTY
16                                 TRUST AND OASIS MARTINIQUE,
        CAMDEN PROPERTY TRUST and LLC.'S NOTICE OF REMOVAL OF
17      CAMDEN MARTINIQUE and DOES ACTION UNDER 28 U.S.C. §§ 1332,
        1 through 100, INCLUSIVE,  1441, AND 1446 [DIVERSITY OF
18                                 CITIZENSHIP]
                    Defendants.
19

20
21

22      TO THE CLERK OF THE ABOVE ENTITLED COURT:

23            PLEASE TAKE NOTICE THAT pursuant to 28 U.S.C. §§ 1332, 1441 and
24
        1446, Defendants CAMDEN PROPERTY TRUST and OASIS MARTINIQUE,
25

26      LLC. hereby remove this action captioned Debbrah Baselice v. Camden Property

27      Trust and Camden Martinique, and DOES 1 through 100, Inclusive, Case No. 30-
28
        2019-01073959-CU-PO-CJC (the "Underlying Action") from the Superior Court
                                                  1
                                     Notice of Removal of Action
     Case 8:19-cv-01416-JLS-DFM Document 1 Filed 07/22/19 Page 2 of 9 Page ID #:2



 1      of the State of California, County of Orange to the United States District Court for
 2
        the Central District of California on the following grounds.
 3

 4
           SUMMARY OF JURISDICTION PURSUANT TO LOCAL RULE 204

 5            This Court has original jurisdiction under 28 U.S.C. § 1332 based on
 6
        diversity of citizenship, and removal is, therefore, proper under 28 U.S.C. § 1441.
 7

 8
        Plaintiff in this action is citizen of California, Defendants CAMDEN PROPERTY

 9      TRUST and OASIS MARTINIQUE, LLC. are not citizens of California, and the
10
        matter in controversy exceeds $75,000.00.
11

12            This removal is also timely. Plaintiff filed her Complaint on or about May

13      31, 2019. Plaintiff failed to properly serve either defendant. Defendants
14
        voluntarily filed Answers in State court on 22 July 2019 starting the 30-day time
15

16      for removal.

17            Plaintiff demanded $300,000 on March 12, 2019 which exceeds the statutory
18
        threshold of $75,000.00. The instant removal is being sought within thirty (30)
19

20      days of Defendants filing a voluntary answer in State court.

21                               BACKGROUND INFORMATION
22
              1.       On or about March 12, 2019, Plaintiff Debbrah Baselice ("Plaintiff'),
23

24      through her attorney, served a Demand for Settlement upon Defendants' insurance

25      representative demanding $300,000.00 to settle Plaintiffs claim for damages. See
26
        Exhibit "A" to the Declaration of John W. Shaw ("Shaw Deel.")
27

28            2.          On July 19, 2019, Plaintiffs counsel Ani Shagvaladyan informed

                                                      2
                                         Notice of Removal of Action
     Case 8:19-cv-01416-JLS-DFM Document 1 Filed 07/22/19 Page 3 of 9 Page ID #:3



 1      defense counsel that plaintiffs demand was $300,000.00, including medical bills in
 2
        excess of $100,000.00 and pain and suffering. See Exhibit "B to the Declaration of
 3

 4
        John W. Shaw ("Shaw Deel.").

 5            3.     On or about May 31, 2019, Plaintiff Debbrah Baselice ("Plaintiff')
 6
        filed a complaint for personal injury and premises liability entitled Debbrah
 7

 8      Baselice v. Camden Property Trust and Camden Martinique, and DOES 1 through

 9      100, Inclusive, Case No. 30-2019-01073959-CU-PO-CJC (the "Underlying
10
        Action") naming as Defendants "Camden Property Trust," "Camden Martinique"
11

12      and "Does 1 through 100, inclusive." See Exhibit "C" to the Declaration of John

13      W. Shaw ("Shaw Deel.").
14
              4.     Plaintiff has not perfected service of her Complaint on Defendant
15

16      Camden Property Trust. See Shaw Deel.

17            5.     Plaintiff has not perfected service of her Complaint on Defendant
18
        Camden Martinique LLC. See Shaw Deel.
19

20            6. Plaintiffs attempted service on Defendants was defective as Plaintiff

21      failed to serve the proper registered agent of service. The complaint was
22
        purportedly "served" on the local Camden property on 19 June 2019. This did not
23

24      constitute service of the complaint as the local Camden property is not the

25      registered agent of service for either Defendant. Rather than quash service,
26
        Defendants voluntarily appeared on the State court action and have filed this timely
27

28      notice of removal. The property manager at Camden Martinique, where Plaintiff

                                                    3
                                       Notice of Removal of Action
     Case 8:19-cv-01416-JLS-DFM Document 1 Filed 07/22/19 Page 4 of 9 Page ID #:4



 1      attempted service, is not authorized to accept service on behalf of Camden Property
 2
        Trust or Camden Martinique. See Shaw Deel. According to the database website
 3

 4
        for the California Secretary of State, the registered agent for service of Oasis

 5      Martinique LLC is "Capitol Corporate Services, Inc." (C2990324). Camden
 6
        Property Trust is not registered to do business with the California Secretary of
 7

 8
        State so proper service of process must be perfected on its corporate headquarters

 9      in Houston, TX.
10
              7.     In her Complaint, Plaintiff asserts that on July 7, 2017, Plaintiff was
11

12
        injured at Defendants' property. Plaintiff claims that the property was negligently

13      maintained by Defendants, Camden Property Trust and Camden Martinique. See
14
        Exhibit "C" to Shaw Deel.
15

16            8.     Plaintiff alleges causes of action against Defendants for (1) Premises

17      Liability; and (2) General Negligence. See Exhibit "C" to Shaw Deel.
18
                                  TIMELINESS OF REMOVAL
19

20            9.     Plaintiff filed her Complaint on May 31, 2019 in the Superior Court of

21      the State of California, County of Orange. See Exhibit "C" to Shaw Deel.
22
              10.    Plaintiff did not perfect service of her Complaint on Defendants
23
24      Camden Property Trust or Camden Martinique. See Shaw Deel.

25            11.    Defendants voluntarily answered Plaintiffs Complaint on 22 July
26
        2019. See Exhibit "D" to Shaw Deel.
27
28

                                                     4
                                        Notice of Removal of Action
     Case 8:19-cv-01416-JLS-DFM Document 1 Filed 07/22/19 Page 5 of 9 Page ID #:5



 1                 12.   The instant removal is being sought within thirty (30) days after
 2
        Defendants voluntarily appeared in the State court on 22 July 2019 which is the
 3

 4
        first opportunity to remove the case. Thus, removal timely under 28 U.S.C. § 1446

 5      (b )(3).
 6
                                     JOINDER OF DEFENDANTS
 7
 8
                   13.   All Defendants are jointly bringing the instant Notice of Removal.

 9                                  AMOUNT IN CONTROVERSY
10
                   14.   The amount in controversy in the Underlying Action exceeds $75,000,
11

12
        exclusive or interest and cost. On March 12, 2019, Plaintiff demanded

13      $300,000.00. A copy of Plaintiffs demand letter is attached as Exhibit "A". See
14
        Shaw Dec. See also Corlew v. Denny's Restaurant, 983 F.Supp. 878, 879-80
15

16      (E.D. Mo. 1997)(holding that District Courts are not "free to disbelieve [a]

17      plaintiffs value of a case").
18
                                    DIVERSITY OF CITIZENSHIP
19

20                 15.   Based on information and belief, Plaintiff is a citizen of California and

21      had been a resident at the Camden property in Orange County, CA. See Exhibit
22
        "B" to Shaw Deel.
23

24                 16.   Defendant Camden Property Trust is a real estate trust organized and

25      existing under the laws of the State of Texas, with its principal place of business in
26
        Houston, Texas. Defendant Oasis Martinique LLC is a limited liability corporation
27
28      incorporated in the State of Delaware with its principal place of business in

                                                         5
                                            Notice of Removal of Action
     Case 8:19-cv-01416-JLS-DFM Document 1 Filed 07/22/19 Page 6 of 9 Page ID #:6



 1      Houston, TX. See Shaw Dec.       ~   12. See also Exhibit "E" to Shaw Deel. Thus, for
 2
        diversity purposes, Defendants Camden Property Trust and Camden Martinique are
 3

 4      citizens of Texas. 28 U.S.C. § 1332 (c)(l).

 5             17.     Pursuant to 28 U.S.C. § 144l(a), the citizenship of Defendants sued
 6
        under fictitious names are disregarded. Thus, the citizenship of Does 1 through 10
 7
                                                                        '
 8
        is disregarded for purposes of determining diversity jurisdiction.

 9             18.     Since there is complete diversity of citizenship, the amount in
10
        controversy exceeds $75,000, this Court has original jurisdiction over this action
11

12      pursuant to 28 U.S.C. § 1332(a), as required by 28 U.S.C. § 1441.

13             PROPRIETY OF REMOVING TO THE CENTRAL DISTRICT
14
               19.     Plaintiff filed the Underlying Action in the Superior Court of
15

16      California, County of Orange, and it is thus properly removed to the jurisdiction of

17      the United States District Court for the Central District of California.
18
                                   STATE COURT DOCUMENTS
19

20            20.      The exhibits attached to this notice are true and complete copies of all

21      documents from the Underlying Action, as identified in the authenticated
22
        paragraphs 2 through 8 and Exhibits A through E of the accompanying Shaw
23

24      Declaration.

25            21.      Written notice of the filing of this Notice of Removal is being given
26
        promptly to all parties by service hereof, and a copy of this Notice of Removal is
27

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                                                       6
                                          Notice of Removal of Action
     Case 8:19-cv-01416-JLS-DFM Document 1 Filed 07/22/19 Page 7 of 9 Page ID #:7



 1      being promptly filed with the Superior Court of California, County of Orange, as
 2
        required by 28 U.S.C. § 1446(d).
 3

 4
                 WHEREFORE, Defendants CAMDEN PROPERTY TRUST and OASIS

 5      MARTINIQUE, LLC, hereby remove the Underlying Action to this honorable
 6
        Court.
 7

 8      Dated: July 22, 2019                    Respectfully submitted,

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10

11

12

13                                                  Lis A. Satter
                                                      tomeys for Defendants, Camden
14                                                   roperty Trust and Oasis Martinique,
                                                    LLC. (erroneously sued and served as
15                                                  Camden Martinique)
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                                       Notice of Removal of Action
                Case 8:19-cv-01416-JLS-DFM Document 1 Filed 07/22/19 Page 8 of 9 Page ID #:8



                                                      CERTIFICATE OF SERVICE
                                                   Rand v. Smith & Nephew, Inc., et al
                   2                         U.S. District Court No. 2:16-cv-09383-RGK-RAO
                   3
                           I am employed in the aforesaid county; I am over the age of eighteen years
                   4 and not a party to the within entitled action; my business address is: 23326
                     Hawthorne Boulevard, Suite 320, Torrance, California 90505.
                   5

                   6

                   7

                   8
                   [X] [VIA MAILl By depositing said envelope with postage thereon fully prepaid in
                   9     the United States mail at Torrance, California. I am "readily familiar" with the
                         firm's practice of collection and processing correspondence for mailing.
                1o       Under that practice it would be deposited with the U.S. Postal Service on that
                         same day with postage thereon fully prepaid at Torrance, California, in the
                11       ordinary course of business. I am aware that on motion of the party served,
                         service is presumed invalid if postal cancellation date or postage meter date is
                12       more than one day after date of deposit for mailing in affidavit.
                13        []   [PERSONAL DELIVERY] I caused the above referenced document(s) to be
                                  delivered to the addressee(s) set forth on the attached Service List..
                14
                          [] {OVERNIGHT COURIER], I caused the above referenced document(s) to be
                15
                                  delivered to an overnight courier service, Federal Express, for delivery to the
                16                addressee( s) on attached service list.
                17
                   [] [VIA FACSIMILE] I caused the above-referenced document(s) to be transmitted
                18        to the-named person(s) to the telecopier number(s) set forth on attached
                19
                          Service List.

                20                 Executed on July 22, 2019, at Torrance, California.
                21         [Xl (FEDERAL) I declare that I am employed in the office of a member of the bar
                          of this court at whose. direction the service wa ~
                22

                23                                                                 . . . . _ __.,__

                24

                25

                26

                27

                28
Gs HAW, Koepke & Satter
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   Attorneys at Law
                Case 8:19-cv-01416-JLS-DFM Document 1 Filed 07/22/19 Page 9 of 9 Page ID #:9



                   1                                    SERVICE LIST
                   2
                   3      Ani Shagvaladyan, Esq.                      Attorneys for Plaintiff,
                          Law Offices of P. Paul Aghabala &           DEBBRAH BASELICE
                   4      Associates, Inc.
                          15315 Magnolia Boulevard, Suite 426
                   5      Sherman Oaks, CA 91403
                          Tel: 818/788-0808
                   6
                          Fax: 818/788-0809
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Gs HAW, Koepke & Satter
                                                                -2-
   Attorneys at Law
